Case 1:05-cv-00326-LG-JMR Document 76-3 Filed 08/14/08 Page 1 of 37

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON, 252/041 DKLED MWELHISE. RECEIVED a 15-MINUTE BLOCK

PRINT NAME
TRAINING ON POLICY AND PROCEDURES; SECURITY SUPERVISION OF HOLDING CELLS;

DURING THE 1500-2300 HOUR SHIFTS BRIEFING.

=p Zr AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
SGT. KENNETH ROGERS #161
‘SGT. EARNEST THOMAS #285
Case 1:05-cv-00326-LG-JMR Document 76-3 Filed 08/14/08 Page 2 of 37

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON, O5750YH 1 PCED A AECHUIEE. RECEIVED a 15-MINUTE BLOCK
PRINT NAME -

TRAINING ON POLICY AND PROCEDURES; Inmate Housing and Observation; DURING
THE 1500-2300 HOUR SHIFTS BRIEFING.

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(DEDITY SIGNATURE AND BADGE NUMBER

SHIFT SUPER VISORS/INSTRUCTOR
SGT. KENNETH ROGERS #161
SGT. EARNEST THOMAS #285
Case 1:05-cv-00326-LG-JMR Document 76-3 Filed 08/14/08 Page 3 of 37

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON, D520, I Lee L? when RECEIVED a 1S-MINUTE BLOCK

PRINT NAME
TRAINING ON POLICY AND PROCEDURES; INTER-OFFICE MEMO DATED: JANUARY 22, 2002;
CARRYING OF UNAUTHORIZED BAGS; DURING THE 1500-2300 HOUR SHIFTS BRIEFING.

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em SIGNATURE AND BADGE Ce

SHIFT SUPERVISORS/INSTRUCTOR

. SGT. KENNETH ROGERS #161

SGT. EARNEST THOMAS #285
Case 1:05-cv-00326-LG-JMR Document 76-3 Filed 08/14/08 Page 4 of 37

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

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ON, LORY SHED (HOGI CF __ RECEIVED a 15-MINUTE BLOCK

PRINT NAME
TRAINING ON POLICY AND PROCEDURES; GENERAL RULES OF CONDUCT; DURING THE
1500-2300 HOUR SHIFTS BRIEFING.

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ey SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
SGT. KENNETH ROGERS #161
_ SGT. EARNEST THOMAS #285
Case 1:05-cv-00326-LG-JMR Document 76-3 Filed 08/14/08 Page 5 of 37

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

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PRINT NAME

TRAINING ON POLICY AND PROCEDURES; FORCED CELL MOVES; DURING THE 1500-2300

HOUR SHIFTS BRIEFING.

EPUTY SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
‘SGT. KENNETH ROGERS #161
SGT. EARNEST THOMAS #285
Case 1:05-cv-00326-LG-JMR Document 76-3 Filed 08/14/08 Page 6 of 37 >
Memorandum Receipt

Date: O04 20 0Y

I Jerrep DECHISE received a copy of the memo generated by
' (Print Name)

Captain Taylor's office titled Searching of inmates dated March 31, 2004.

Officers sin :
Case 1:05-cv-00326-LG-JMR Document 76-3 Filed 08/14/08 Page 7 of 37

Memorandum Receipt

Date: Of 30 OF

I JERLED VO VMIE ____ received a copy of the memo generated by

(Print Name)

/ Captain Taylor's office titled Damaged/ destroyed wristbands dated Aptil 7, 2004.

. Officers sri HELE: Badge # AY

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SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

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. PRINT NAME ~
TRAINING ON POLICY AND PROCEDURES; INTER-OFFICE MEMO DATED: NOVEMBER 15,
2002; ALLOWED ITEMS; DURING THE 1500-2300 HOUR SHIFTS BRIEFING.

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Ce SIGNAGUREAND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
. SGT. KENNETH ROGERS #161
SGT. EARNEST THOMAS #285
Page 9 of 37

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Case 1:05-cv-00326-LG-JMR Document 76-3

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Case 1

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Case 1

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Case 1:05-cv-00326-LG-JMR Document 76-3 Filed 08/14/08 Page 19 of 37

ACKNOWLEDGEMENT RECEIPT

I, JDALED NVEWSE , have this date received the following
(print full name)

document(s) from IGT Vets 4255
(officer/supervisor)

[] Narrative(s)

|_| Informal Counseling.

O Formal Written Counseling

[| Intent to Initiate Corrective Measures

[7 Revised Booking Officer Post Orders

ce: Major Riley
Captain Taylor
Personnel File
Case 1:05-cv-00326-LG-JMR Document 76-3 Filed 08/14/08 Page 20 of 37

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON 3/15/04, I ED SELHEE, RECEIVED a 15-MINUTE BLOCK
PRINT NAME
TRAINING ON GENERAL ORDER #5 - LEAVE: PERSONAL & MEDICAL, DURING THE 1500-2300

HOUR SHIFTS BRIEFING.

Hee /
em SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
SGT. KENNETH ROGERS #161

SGT. BOBBY MCLEMORE #236
SGT. EARNEST THOMAS #285
Case 1:05-cv-00326-LG-JMR Document 76-3 Filed 08/14/08 Page 21 of 37

ACKNOWLEDGEMENT RECEIPT

L JTALD NYSE c727/ , have this date received the following
(print full name)

document(s) from Sgt, Wemrtts I-23 Ss

(officer / supervisor)
[_] Narrative(s)
[_] Informal Counseling
[_] Formal Written Counseling
EA Booking In Process Checklist
Other Signature
LIMMEY,
/ / Mate)

cc: Major Riley

. Captain Taylor

Personnel File
Case 1:05-cv-00326-LG-JMR Document 76-3 Filed 08/14/08 Page 22 of 37

ACKNOWLEDGEMENT RECEIPT

1 DE ERKED MC, C fe WYBE, have this date received the following

(print full name)

document(s) from _<77_”
(officer/supervisor)

[_] Narrative(s)

{[] Informal Counseling

[] Formal Written Counseling

[_] Intent to Initiate Corrective Measures

[X] Policy on Personnel Records

ZL (Officer Sighature)

awe
ate)

ce: Major Riley
Captain Taylor

Personnel File
Case 1:05-cv-00326-LG-JMR Document 76-3 Filed:08/14/08 Page 23 of 37

ACKNOWLEDGEMENT RECEIPT

I. WO FLALS F TseRED | have this date received the following
(otint full name)

document(s) from ur Dukes

(officer/supervisor)

Narrative(s)
g Informal Counseling
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[| Intent to Initiate Corrective Measures

Property Receipt Procedures

a (Officer Signature)
2-7-7
(Date)

cc: Major Riley
Captain Taylor
Personnel File
Case 1:05-cv-00326-LG-JMR Document 76-3 Filed 08/14/08 Page 24 of 37

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON 1/02/04, I Te ERPRED Mecaise RECEIVED a 15-MINUTE BLOCK
PRINT NAME

‘TRAINING ON General Order #1 Code of Ethics, DURING THE 1445-2400 HOUR SHIFTS
BRIEFING. :

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PROT SIGNATURE AND BADGE NUMBER

Case 1:05-cv-00326-LG-JMR Document 76-3 Filed 08/14/08 Page 25 of 37

HARRISON COUNTY
SHERIFF’S DEPARTMENT

Post Office Box 1480
Gulfport, Mississippi 39502 .

ACKNOWLEDGEMENT RECEIPT

lL MECASE , Te Rreo Haq have this date received the following
(print full name)

document(s) from 4.77 “DabesS

(6fficer/supervisor)

— [J Narrative(s)
[_] Informal Counseling
CJ Formal Written Counseling

["] Intent to Initiate Corrective Measures

Aoooking Guidelines

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7 HEY
Lo (Officer Signature)

td -P- ZF
(Date)

cc: Major Riley .
Captain Taylor .
Personnel File

. Office: (228) 865-7092: se Fax: (228) 865-7071 Dispatch: (228) 865-7060
_AgaSe L08-cv-00826-LG-JMR Document 76-3 Filed 08/14/08 Page 26 of 37

HARRISON COUNTY
-SHERIFF’S DEPARTMENT

Post Office Box 1480
George WH. Payne, fr. | Gulfport, Mississippi 39502

ACKNOWLEDGEMENT RECEIPT

I, DerReD K/ECASe , have this date received the following
(print full name) ,

document(s) from C7 Dubos

(officer/supervisor)

[_] Narrative(s)

[| Informal Counseling

[ | Formal Written Counseling

[_| Intent to Initiate Corrective Measures

[| Administrative Leave Letter
SY BeokiNG Gude [ves

GIAD>

~ (Officer Signature)

120403

(Date)

cc: Major Riley
Captain Taylor
Personnel File

’ Office: (228) 865-7092 Fax: (228) 865-7071 | , Dispatch: (228) 865-7060
Case 1:05-cv-00326-LG-JMR Document 76-3 Filed 08/14/08 Page 27 of 37

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON 05-22-2002, I TBRED? MEU EE RECEIVED A 10 MINUTE BLOCK
PRINT NAME

OF TRAINING ON RIOTS AND DISTURBANCES, DURING THE 1445-1500 HR SHIFT
BRIEFING.

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DEPUDY SIGNATURE AND BADGE NUMBER

FTO. KENT LT. A KELLY
SHIFT SUPERVISOR WATCH COMMANDER
Case 1:05-cv-00326-LG-JMR_. Document 76-3 Filed 08/14/08. Page 28 of 37

POLICY AND PROCEDURE DIRECTIVE

ON 05-16-2002, 1, JG) MEH E. RECEIVED A 10 MINUTE BLOCK
PRINT NAME

OF TRAINING ON USE OF FORCE, DURING THE 1445-1500 HR SHIFT BRIEFING.

by, iO aa)

UTY SIGNAFURE AND BADGE NUMBER

SGT.DRECHSEL LRAKELLY
SHIFT SUPERVISOR , WATCH COMMANDER

Case 1:05-cv-00326-LG-JMR Document 76-3 Filed 08/14/08 Page 29 of 37

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON 04-23-2002. | VERRED NECA bE RECEIVED A 10 MINUTE BLOCK
: PRINT NAME
OF TRAINING ON CHAIN OF COMMAND. DURING THE 1445-1500 HR SHIFT BRIEFING.

SAE LH

Depoty SIGNATURE AND BADGE NUMBER

SGT. DRECHSEL LT. A KELLY
SHIFT SUPERVISOR WATCH COMMANDER
Case 1:05-cv-00326-LG-JMR Document 76:3. Filed 08/14/08 Page 30 of 37

Harrison County Adult Detention Facility
George Payne, Sheriff

I. TEKLED ME CAISE have been advised and
received a copy of the HCADC policy and procedures on the Code Of

Ethics. This was conducted During Shift Briefing on April 21,2002.
Name: pole ‘_Badge# 97/  Date: Y-oV/-d&

. RS 2 Case 1:05-cv-00326-LG-JMR Document 76-3 Filed 08/14/08 Page 31 of 37

HARRISON COUNTY
SHERIFF’ Ss DEPARTMENT

Post Office Box 1480
- Gulfport, Mississippi 39502

November 7, 2001

TO: AM Employees

“: FROM: _ Sandy Rickets
"RE? ._— General Orders
- . Ther new and revised General Orders has been printed and a are now available for
” : distribution. oo
_” They will be available inD warehouse, please pick up your copies as soon as possible.
“Gece: (228) 865-7092 ~~~ ~—~—~—”~™S~S*«C ax: (228),865-7071 = ‘Dispatch: (228) 865-7060 » °
Case 1:05-cv-00326-LG-JMR Document 76-3 Filed 08/14/08 Page 32 of 37

HARRISON COUNTY SHERIFF’S DEPARTMENT - POLICY &PROCEDURE
(GENERAL RULES OF CONDUCT)

GENERAL RULES OF CONDUCT ISSUED TO Seeked Manise

Print Name

DATE RULES OF CONDUCT ISSUED

This information on Rules of Conduct is issued to you as an officer of the Harrison County Adult

Detention Facility.

tn

Major Dianne Gatson-Riley.
Director of Corrections
Case 1:05-cv-00326-LG-JMR Document 76-3 Filed 08/14/08 Page 33 of 37

HARRISON COUNTY SHERIFF’S DEPARTMENT — POLICY & PROCEDURE
(ACA STANDARDS)

ACA STANDARDS MANUAL ISSUED TO WELHSE,., JGQCEE

Print Name

DATE ACA STANDARDS MANUAL ISSUED

This information on ACA Standards is issued to you as an officer of the Harrison County
Adult Detention Facility. ©

Major Dianne Gatson-Riley
Director of Corrections
a shires SUPERVISORS/INSTRUCTOR
fe _SGE LESLIE MATHIS: #228. ees
SGT: DEDRI CALDWELL #314

"Case 1:05-cv-00826-LG-JMR Document 76-3 Filed 08/14/08. Page 34 of 37.»

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON, ulead Fie nlite RECEIVED a 15-MINUTE.BLOCK

PRINT NAME

Poe, TRAINING ON POLICY AND PROCEDURE, EVACUATION PLAN; DURING THE 2300/0700.
HOUR SHIFTS BRIEFING. . .

Sa AND BADGE NUMBER -

“Case HE OVOOSEEL EME, Document 76-3° Filed 08/14/08 Page 35 of 37.
_ SHIF T TRAINING

POLICY. AND PROCEDURE DIRECTIVE,

_ NO Jae doch xen we CL Wb "RECEIVED a 15-MINUTE BLOCK oe

PRINT NAME

SHIFTS BRIEFING. —

2 SRT BADGE NUMBER

- SHIFT SUPERVISORS/INSTRUCTOR -
SGT. LESLIE MATHIS 4228...
SGT. DEDRI CALDWELL #314

SERAINING ON POLICY AND: PROCEDURE, HUNGER STRIKES: DURING THE 2300/0700 HOUR...
“Case 1:05-cv-00826-LG-JMR : Document 76-3 Filed 08/14/08 Page 36 of 37.
POLICY AND PROCEDURE DIRECTIVE |
ON, 10404, I ee Lreceo. Weéinbee oe » RECEIVED a 15. MINUTE pore

PRINT NAME
“TRAINING ON POLICY AND PROCEDURE, CRIME SCENE PROCEDURES; DURING THE:

2300/0700 HOUR SHIFTS BRIEFING.

_ SHIFT SUPERVISORS/INSTRUCTOR
\. SGT. LESLIE MATHIS #157. =
| SGT.DEDRI CALDWELL #152 «+

- - Case 1:05-cv-00326-LG-JMR  Docuinent 76-3" Filed 08/14/08 . Page 37 of 37°.
| SHIFT TRAINING ©

POLICY AND PROCEDURE DIRECTIVE

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’  PRINTNAME ~ .
TRAINING ‘ON POLICY A AND-PROCEDURE, USE OF FORCE; DURING THE 2300/0700 HOUR So

“SHIFTS BRIEFING.

oa SHIFT SUPERVISORS/INSTRUCTOR -
oy ‘SGT. LESLIE MATHIS #228

